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                              Exhibit 9
                  Wilson Deposition Exhibit 6
              PASS Pregnancy Test Client Flow Sheet
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                                                                                                     PASS-006




                                      PASS pregnancy care center
                      PREGNANCY TEST Client Flow Sheet
Client Name: _ _ _ _ _ _ _ _ _ _ Center ______ Client#: _ _ __
Advocate Name: __________ Date: _ _ _ _ _ _ Case#: _ _ _ __
Type of Appointment:                            D Negative test
1. Pregnancy Test Assessment: D Abortion Minded D Vulnerable D Likely to Carry
   Positive Test Outcome: D Abortion Date:___ D Miscarriage Date: _ _ _ __
                                  0 Birth: _ _ __
2. D Abundant Life Enroll
                                                   Date/Initial   Yes   No   N/A   Comments
Photo ID

Client Follow-Up Phone Number
(__)                 Text: Y N

Pregnancy Test Client Flow Sheet(309)
Pregnancy Test Intake (310)                                                        Due Date:

Relationship Questionnaire (188A)

Advocate Office Use Only Form (192)

Advocate Client Documentation(l95)
Medical Care Flow Sheet (300)
Referred for Medical

Referred for U/S

U/S Documentation (Nurse)

Abundant Life Agreement (215)

ABL Client: Child's Name(s):                                                       Age out Date:

Date of Birth
Client Added to ABL call list
Allow other parent to use ABL Points?                                              Other Parent File id:/name


Exit Survey Completed ( 198)

File Processed (Stats)

Case Closed



 PASS pregnancy care center Client Flow Sheet
 PASS network for life
